
USCA1 Opinion

	







                                [NOT FOR PUBLICATION]
                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT





                                 ____________________

          No. 94-2135

                                    UNITED STATES,

                                      Appellee,

                                          v.

                                    JOHN A. MEUSE,

                                Defendant - Appellant.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                       [Hon. Mark L. Wolf, U.S. District Judge]
                                           ___________________

                                 ____________________

                                        Before

                          Boudin and Lynch, Circuit Judges,
                                            ______________

                        and Schwarzer,* Senior District Judge.
                                        _____________________

                                _____________________

               Annemarie Hassett, Federal Defender Office, for appellant.
               _________________
               Gary S.  Katzmann, Assistant  United  States Attorney,  with
               _________________
          whom  Donald K. Stern, United  States Attorney, was  on brief for
                _______________
          appellee.



                                 ____________________
                                   August 2, 1995
                                 ____________________




                              
          ____________________

          *Of the District of Northern California, sitting by designation.














                    Per Curiam.  Defendant John A. Meuse pleaded guilty  to
                    Per Curiam
                    __________

          a charge of illegally possessing firearms as a felon (18 U.S.C.  

          922 (g)(1)).  Meuse appeals his conviction on the ground that the

          search  that led  to the  discovery of  the firearms  was illegal

          because  the affidavit  supporting the  search warrant  failed to

          establish  the likelihood that the items sought would be found in

          his  residence.  The items sought were burglary tools and jewelry

          stolen  from   the  home  of  Genevieve   DiCarlo  ("the  DiCarlo

          burglary").  Following  his indictment,  Meuse moved  to suppress

          all  items recovered  during the  search of  his apartment:   the

          three  firearms  referred  to   in  the  indictment,  along  with

          ammunition,  a stun gun, and other  instrumentalities of an armed

          robbery and burglary gang.  (None of the jewelry from the DiCarlo

          burglary was recovered at Meuse's apartment.)  The district court

          denied  the motion,  finding that  the officers had  proceeded in

          good faith reliance  on a  facially valid warrant,  and that  the

          information in the affidavit supported  the magistrate's decision

          that there was a  fair probability that evidence of  a particular

          crime, including jewelry stolen in the DiCarlo burglary, would be

          found in Meuse's residence.  We affirm the district court.

                                  STANDARD OF REVIEW
                                  STANDARD OF REVIEW

                    This court has jurisdiction under 28 U.S.C.   1291.  In

          reviewing  a district court's  determination that the  face of an

          affidavit stated  sufficient probable  cause to support  a search






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          warrant,  we  review only  for clear  error.1   United  States v.
                                                          _________________

          Garc a, 983 F.2d 1160, 1167 (1st Cir. 1993), citing United States
          ______                                              _____________

          v.  Nocella, 849 F.2d  33, 39  (1st Cir.  1988); see  also United
          ___________                                      _________ ______

          States  v. Taylor, 985 F.2d 3, 5 (1st Cir. 1993) (reviewing court
          _________________

          does  not  undertake  de  novo review  of  sufficiency  of search
                                __  ____

          warrant affidavit,  but accords  great deference to  the probable

          cause determination).

                                      BACKGROUND
                                      BACKGROUND

                    The  warrant was  issued  on December  10,  1991, by  a

          clerk-magistrate of  the Commonwealth of Massachusetts.   The 14-

          page affidavit,  signed  by Massachusetts  State Trooper  Michael

          Grassia, stated in substance the following:

                    On December 2, 1991, Grassia, a ten-year veteran of the

          force,  attended a meeting  of police  officers from  a five-town

          area of  Massachusetts (Wakefield,  Malden, Revere,  Melrose, and

          Saugus).  The  purpose of the meeting was to  plan and coordinate

          strategy for solving  a series of armed robberies  and burglaries

          of homes  in that area.   Chief among the  suspects identified at
                              
          ____________________

          1   Meuse  contends  that  the  "clear  error"  standard  is  not
          applicable here because the district court's determination of the
          sufficiency of the  underlying affidavit  was made  after a  non-
          evidentiary  hearing, citing  United  States v.  Falon, 959  F.2d
                                        ________________________
          1143, 1147 (1st Cir. 1992).  In Falon, however, the issue was not
                                          _____
          the  sufficiency  of  the   search  warrant  affidavit,  but  the
                                                       _________
          particularity of a  broadly worded search warrant,  which did not
          specifically incorporate  or attach the affidavit,  and which did
          not refer to  the criminal  offenses for which  the evidence  was
          sought.   We suggested that  de novo review  might be appropriate
                                       _______
          when,  as there, the district  court makes a  purely legal ruling
          regarding  the  level  of  particularity  required  in  a  search
          warrant.   We added, however, that  when reviewing conclusions in
          the  nature of  fact  finding, we  would  apply the  clear  error
          standard.  Id. 
                     ___

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          the meeting was  John Meuse.  One of  the Wakefield officers told

          Grassia that a Ford  van registered to Meuse had  been identified

          by witnesses as a vehicle  used in an armed robbery the  previous

          month.   Meuse subsequently called  the police to  report the van

          stolen; when  he was informed that  the police wanted to  talk to

          him about  an armed robbery,  however, he  refused to  go to  the

          police station to retrieve  the van, sending his attorney  in his

          place.  The Wakefield  officer told Grassia that the  only damage

          to  the van  was  a popped  ignition,  and that  everything  else

          appeared intact.   Meuse subsequently re-registered  the van with

          different license  plates.   Grassia  obtained other  information

          about Meuse at the meeting, including information about  his past

          criminal record.

                    Because the  crimes of  which Meuse and  his associates

          were   suspected   had   been   committed   on   Saturdays,   the

          representatives  of  the  various police  departments  agreed  to

          conduct a joint  surveillance of those suspects on  the following

          Saturday,  December 7,  1991.    At approximately  6:30  p.m.  on

          December 7th,  Grassia and the other  officers began surveillance

          at  several locations  in Revere  and Everett,  including Meuse's

          residence.   Earlier  that  afternoon, the  DiCarlo residence  in

          Melrose  was burglarized.   Taken  in the  burglary  were several

          hundred pieces of jewelry and a light green pillowcase.  Some  of

          the jewelry was in a white cardboard box.

                    That evening, at 8:00 p.m., a Monte Carlo registered to

          Robert  Stevens, another of the suspects in the Wakefield crimes,


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          arrived at Meuse's residence.  Three men got out of Stevens'  car

          and walked into Meuse's apartment building, one carrying a light-

          colored  cloth bag,  and  the other  two  with valise-type  bags.

          Police  observed  the three  men  walking  around inside  Meuse's

          apartment.

                    An hour  later, at 9:00 p.m., police saw Ronald Ferrara

          enter  Meuse's  apartment, empty-handed.    Half  an hour  later,

          Ferrara came out, carrying a brown shopping bag.  Police officers

          followed Ferrara  to the parking lot of  a restaurant in a nearby

          town.   Ferrara entered another vehicle, talked to the driver for

          ten minutes, and  got out, still carrying  the shopping bag.   He

          then  drove to  an  adjoining parking  lot, and  pulled alongside

          Meuse's  van and  Stevens' Monte  Carlo, both  of which  had been

          followed  by  police  from  Meuse's apartment.    The  police saw

          Ferrara  hand what looked like  money into the  passenger side of

          the  Monte Carlo, after which  he shook hands  with the passenger

          and  walked back  to his  car, still  carrying the  shopping bag.

          Ferrara then entered  the restaurant, where he  stayed until 1:00

          a.m.

                    When Ferrara left the restaurant, he was accompanied by

          his wife.  Shortly thereafter, Ferrara was arrested for operating

          a motor vehicle with a suspended license.  An inventory search of

          his  car revealed a brown shopping bag containing over 100 pieces

          of jewelry and  a white  cardboard box, all  of which were  later

          identified by Mrs. DiCarlo as  the items stolen from her home  on

          December 7th.


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                    When Ferrara  was questioned at the  police station, he

          said he had been  at the restaurant the entire evening, from 7:30

          p.m. until 1:00 a.m.  He told police he had purchased the jewelry

          from  a friend of a  friend inside the  restaurant, but could not

          identify either the  friend or the seller of the  jewelry.  Later

          that  night, Ferrara's wife arrived at the police station to post

          bail  for Ferrara, and told police the  jewelry was hers.  At the

          time  the  police had  stopped  the  Ferrara  car, however,  Mrs.

          Ferrara said  that the jewelry in  the car was not  hers and that

          she knew nothing about the bag.

                    Grassia concluded that it was  his belief, based on the

          facts stated above, along  with his training and experience  as a

          police officer, that the perpetrators of the DiCarlo burglary had

          used  the pillowcase to carry  off the jewelry;  that the "light-

          colored cloth  bag" carried into Meuse's apartment on the evening

          of  December 7th was the  green pillowcase that  had been removed

          from  the DiCarlo residence during the burglary; that Ferrara was

          acting as  a fence for the  stolen property and  had obtained the

          jewelry from Meuse's  apartment on the  evening of December  7th.

          Grassia  stated  further that  he  believed  that further  stolen

          property was being kept at Meuse's apartment. 

                                      DISCUSSION
                                      DISCUSSION

                    Meuse  argues  that the  affidavit  in  support of  the

          search warrant failed to establish the requisite probability that

          evidence of the DiCarlo burglary would be found in his residence.

          He contends that the  affidavit was deficient in that  it did not


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          establish a  sufficient nexus between the stolen  jewelry and his

          apartment.

                    Probable   cause   exists    where   "the   facts   and

          circumstances within [a police officer's] knowledge, and of which

          [the officer] had reasonably trustworthy information .  . . [are]

          sufficient  in themselves  to  warrant a  [person] of  reasonable

          caution" to believe that a  crime has been committed or  is being

          committed and that contraband or other evidence of a crime can be

          found at the place to be searched.  Carroll v. United States, 267
                                              ________________________

          U.S. 132,  162 (1925);  United States v.  Drake, 673 F.2d  15, 17
                                  _______________________

          (1st  Cir. 1982).  Stated another way, probable cause exists when

          there  is a "fair probability"  that contraband or  evidence of a

          crime will be found  in a particular place.  See Massachusetts v.
                                                       ___ ________________

          Upton, 466 U.S.  727, 733  (1984); United States  v. Jordan,  999
          _____                              ________________________

          F.2d  11, 13 (1st Cir. 1993).  "Probable cause" is something less

          than  the  "preponderance"  standard  of  proof.    "[T]he  words

          'reasonable  cause' are perhaps closer to what is meant."  United
                                                                     ______

          States v. Melvin, 596 F.2d 492, 495 (1st Cir.), cert. denied, 444
          ________________                                ____________

          U.S. 837 (1979).  

                    Probable  cause  may be  established  in various  ways,

          including  hearsay from a reliable source  or information from an

          anonymous  tip  that  can  be independently  corroborated.    See
                                                                        ___

          Illinois  v. Gates, 462 U.S.  213, 233-34, 241  (1983).  Probable
          __________________

          cause  may also  be established  by the personal  observations of

          police  officers.  See McDonald  v. United States,  335 U.S. 451,
                             ___ __________________________

          454-55  (1948); United States v.  Lee, 962 F.2d  430, 436-38 (5th
                          _____________________


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          Cir.), cert.  denied, 113  S. Ct. 1057  (1992).   Police may  use
                 _____________

          their training,  experience, and expertise to  draw inferences of

          criminal activity  from behavior  that is not  facially criminal.

          Texas v. Brown, 460 U.S. 730, 742-43 (1983) (plurality opinion).
          ______________

                    The mandate  of the  Fourth Amendment was  satisfied in

          this case so long as the "totality of the circumstances" provided

          the issuing  magistrate with  a substantial basis  for concluding

          that a search would  uncover evidence of wrongdoing.   Gates, 462
                                                                 _____

          U.S. at 236;  United States v. Ciampa, 793 F.2d  19, 22 (1st Cir.
                        _______________________

          1986).  The district court found that that standard was met here.

                    The district  court found  that the information  in the

          affidavit was  obtained primarily from  the personal observations

          of trained and experienced police officers; that there had been a

          rash of burglaries in  which defendant was a prime  suspect; that

          defendant drove a van which was  believed to have been used in an

          armed robbery; that on  the day of the DiCarlo  burglary, Ferrara

          was seen entering defendant's apartment  empty-handed and leaving

          with a shopping bag that was later found to contain a substantial

          portion of the jewelry reported stolen by Mrs. DiCarlo just hours

          before; and that Ferrara lied  about his whereabouts that evening

          and told an  incredible story  about the source  of the  jewelry,

          further  undercut  by his  wife's  conflicting  story.    In  the

          totality of the circumstances, the court found  probable cause to

          believe  that evidence of a  crime would be  found in defendant's

          apartment.  Meuse argues that the conclusion that a search of his

          apartment would uncover evidence relating to the DiCarlo burglary


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          relied on the inference  that the contents of the  brown shopping

          bag removed from Ferrara  at 1:00 a.m. on  December 8th had  been

          obtained by  Ferrara  from  Meuse's  apartment at  9:30  p.m.  on

          December  7th.   He  claims that  even  though Ferrara  was  seen

          leaving the apartment with a bag  that was later found to contain

          the  stolen DiCarlo jewelry, the fact that Ferrara met with other

          individuals  during  the  three  and  a half  hours  between  his

          departure  from Meuse's  residence  and his  apprehension by  the

          police makes it unreasonable  to conclude that the bag  must have

          contained the stolen jewelry when Ferrara left Meuse's apartment.

          This argument ignores the  fact that the full array of  facts and

          circumstances presented to the  issuing court need only establish

          probable  cause, not a certainty that the material sought will be

          found in  the place to be  searched.  Gates, 462  U.S. at 231-35;
                                                _____

          accord, Ciampa, 793 F.2d at 22.
          ______  ______

                     Similarly  unpersuasive is  Meuse's argument  that the

          affidavit does not support the inference that the DiCarlo jewelry

          entered  Meuse's apartment  in the  cloth bag  at  8:00 p.m.   He

          claims that  the requisite probable cause is  lacking because the

          officers conducting  the surveillance described a  man carrying a

          "light-colored bag"  rather than  the "green pillowcase"  missing

          from  the DiCarlo residence.   This minor variation  in the terms

          used to describe the bag does not preclude a finding of  probable

          cause.   Search warrants are to be interpreted in a "common-sense

          rather than a hypothetical or a  hypertechnical manner."  Garc a,
                                                                    ______

          983 F.2d at 1167.   Bits and pieces of information  are not to be


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          judged in isolation.  United States v. Badessa, 752 F.2d 771, 773
                                ________________________

          (1st Cir. 1985).

                    Meuse's final argument is that  there were insufficient

          facts  to link  him  personally  to  the  stolen  jewelry  or  to

          Ferrara's criminal activities.  He claims, for  example, that the

          affidavit  did  not show that Ferrara was a  known fence, that he

          had  previously  fenced stolen  property for  Meuse, that  he had

          previously received  stolen property  from Meuse's  apartment, or

          that  he had any record for any offense involving stolen property

          or relating to the robbery/burglary activity for which Meuse  was

          under surveillance.   Meuse also argues that  Ferrara's lie about

          his  visit to  Meuse's apartment  establishes nothing  other than

          that Ferrara wished to  hide his association with Meuse,  that it

          sheds  no light on  whether or not the  DiCarlo jewelry came from

          Meuse's apartment.

                    This  argument is  also without  merit.   The affidavit

          showed that there  was a  fair probability that  evidence of  the

          DiCarlo  burglary  could  be  found in  Meuse's  apartment.    In

          addition  to the  reasons set forth  above, the  affidavit stated

          that Meuse's  van had been tied to  an armed robbery committed in

          the previous month.  The affidavit also described the activity at

          Meuse's apartment on  the evening of  December 7th, during  which

          this same van was parked outside.   The van was then seen at  the

          parking  lot  with  Ferrara's   car  and  the  Stevens'  vehicle.

          Considering the totality of the circumstances, the connection was




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          sufficiently close  to support  the magistrate's issuance  of the

          search warrant.

                    In any event, the denial of Meuse's motion  to suppress

          is supported by  the "good faith"  exception to the  exclusionary

          rule.   The Supreme Court has declared that even when information

          contained in an affidavit makes only a marginal case for a search

          warrant, the warrant should  nevertheless be upheld.   "[W]e have

          expressed  a strong preference for warrants and declared that 'in

          a doubtful  or a marginal  case a search  under a warrant  may be

          sustainable  where without one it would fall.'"  United States v.
                                                           ________________

          Le n, 468 U.S. 897, 914 (1984).  "In the absence of an allegation
          ____

          that  the magistrate  abandoned  his detached  and neutral  role,

          suppression is appropriate only if the officers were dishonest or

          reckless in preparing their affidavit or could  not have harbored

          an  objectively reasonable  belief in  the existence  of probable

          cause."  Id. at 926.
                   ___

                    Here,  the  district  court  found  that  the  officers

          proceeded in  good faith  reliance on  a facially  valid warrant,

          issued by a judicial officer, and  supported by "much more than a

          'bare-bones' affidavit."   Id.  Thus,  the "good-faith" exception
                                     ___

          applies in this case.

                    Affirmed.
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